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                                             #:2105



 1
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     Michael C. Murphy, Jr. Esq. (S.B. No. 305896)
 3
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 4   LAW OFFICES OF MICHAEL C. MURPHY
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     2625 Townsgate Road, Suite 330
     Westlake Village, CA 91361
 6
     Tel.: 818-558-3718
 1   Fax: 805-367-4506
 8
     Attorneys for Defendant,
 9   Patrick Byrne

                               UNITED STATES DISTRICT COURT

                             CENTRAL DISTRICT OF CALIFORNIA

     ROBERT HUNTER EIDEN, an                      Case No.: 2:23-cv-09430-SVW-PD
     individual,                                  Judge:   Honorable Stephen V. Wilson
                                                  Courtroom: "l0A"

                     Plaintiff,                   Complaint Filed: November 8, 2023
                                                  DECLARATION OF MICHAEL C.
             vs.                                  MURPHY, ESO. IN SUPPORT OF
19
                                                  DEFENDANT'S REPLY IN
                                                  SUPPORT OF HIS MOTION FOR
20
                                                  SUMMARY JUDGMENT OR IN
     PATRICK M. BYRNE, an individual,             THE ALTERNATIVE, SUMMARY
21
                                                  ADJUDICATION

22
                     Defendant.                   rFiled concurrently with Defendant's
                                                  Reply; Defendant's Evidentiary
23
                                                  Oojections to Plaintiff's Declaration
                                                  ana Exhibits; Defenaant's Response to
24
                                                  Plaintiff's Additional Controverted
                                                  Facts;VDefendant's Response to
25
                                                  Plaintiff's Disputed Facts]

26
                                                  Date:      November 25, 2024
                                                  Time:      1:30 n.m.
27
                                                  Courtroom: "l0A1,'

28

     DECLARATION OF MICHAEL C. MURPHY, ESQ. IN SUPPORT OF DEFENDANT'S REPLY IN SUPPORT OF
     DEFENDANT'S MOTION FOR SUMMARY JUDGMENT
     Case No.: 2:23-cv-09430-SVW-PD
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                                             #:2106



             I, Michael C. Murphy, Esq., declares as follows:
 2           1.      I am an attorney duly authorized and licensed to practice law before
 3   this Court and all the state courts located throughout the State of California. I am
 4   an attorney with the Law Offices of Michael C. Murphy, attorneys of record for
 s Defendant Patrick Byrne. This Declaration is executed in support of Defendant's
 6   Reply in Support of his Motion for Summary Judgment or, in the Alternative,
 1 Partial Summary Judgment. I have personal knowledge of the facts stated in this
 8   Declaration and if called upon to testify, I would competently do so.
 9           2.      On August 17, 2024, I sent an e-mail to Plaintiff's counsel and
     notified him that in the future we intended to bring a motion for summary
     judgment and to give him ample notice so he could conduct whatever discovery he
     deemed appropriate to oppose the motion. (A true and correct copy of said e-mail
     is heretofore attached as Exhibit "A" incorporated herein, and made a part hereof).
             3.      On October 30, 2024, I sent an email to Plaintiff's counsel offering to
     continue the hearing on the summary judgment motion, the pretrial conference and
16   all related pretrial filing dates, the deadline for Plaintiff to file his opposition to the
11   motion for summary judgment, the deadline for Defendant to file his reply brief,
18   and to set a time to meet and confer on the motions in limine. (A true and correct
19   copy of said e-mail is heretofore attached as Exhibit "B" incorporated herein, and
20   made a part hereof).
21           4.      On October 30, 2024, Plaintiff responded by stating the following:
22   "We see no need at this point to continue any of the pretrial dates or any of the
23   deadlines associated with Defendant's Motion for Summary Judgment as we are
24   ready to proceed on all fronts. As such, we will not agree to enter into a stipulation
2s   to continue any of the dates you propose." (A true and correct copy of said e-mail
26   is heretofore attached as Exhibit "C," and incorporated herein, and made a part
21   hereof).
28                  I declare under penalty of perjury under the laws of the United States
                                                  2
     DECLARATION OF MICHAEL C. MURPHY, ESQ. IN SUPPORT OF DEFENDANT'S REPLY IN SUPPORT OF
     DEFENDANT'S MOTION FOR SUMMARY JUDGMENT
     Case No.: 2:23-cv-09430-SVW-PD
                            Case 2:23-cv-09430-SVW-PD      Document 111-1      Filed 11/12/24   Page 3 of 9 Page ID
                                                                  #:2107



                        1    of America that the foregoing is true and correct. This Declaration was executed
                        2    on November 12, 2024, at Westlake Village, CA.
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                        4                                             By: /s/ Michael C. Murphy, Esq.
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                            DECLARATION OF MICHAEL C. MURPHY, ESQ. IN SUPPORT OF DEFENDANT'S REPLY IN SUPPORT OF
                            DEFENDANT'S MOTION FOR SUMMARY JUDGMENT
                            Case No.: 2:23-cv-09430-SVW-PD
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                                   #:2108




            Exhibit ''A''
        Case 2:23-cv-09430-SVW-PD            Document 111-1          Filed 11/12/24      Page 5 of 9 Page ID
                                                    #:2109
Michael Murphy

From:                            Michael Murphy
Sent:                            Saturday, August 17, 2024 8:54 AM
To:                              'Zachary Hansen'; Michael Murphy, Jr.
Cc:                              'Bryan Sullivan'; 'AbbeLowellPublicOutreach@winston.com'; 'Salvaty, Paul B.'; 'Ellis,
                                 Gregory A.'; Michael Murphy, Jr.; Carmen
Subject:                         RE: Robert Hunter Biden v. Patrick M. Byrne (Federal Case No.: 2:23-cv-09430-SVW-PD)
                                 -Motion for Summary Judgment/Adjudication


Hi Zachary:

This e-mail is to provide you with notice that pursuant to FRCP 56, we intend to bring a motion for summary
judgment and/or for summary adjudication of issues and within the next 60 days to ensure that the motion is
timely and can be heard by the court before the pretrial conference and trial. I am giving you this notice to ensure
that you have the opportunity to take whatever action you deem appropriate to get your discovery completed and
so that you can address the issues set forth in our motion.

Have a great weekend.


Very truly yours,

Michael C. Murphy, Esq.


From: Michael Murphy
Sent: Saturday, August 17, 2024 8:45 AM
To: 'Zachary Hansen' <zhansen@earlysullivan.com>; Michael Murphy, Jr.<michael.jr@murphlaw.net>
Cc: 'Bryan Sullivan' <bsullivan@earlysullivan.com>; 'AbbeLowellPublicOutreach@winston.com'
<AbbeLowellPublicOutreach@winston.com>; 'Salvaty, Paul B.' <PSalvaty@winston.com>; 'Ellis, Gregory A.'
<GAEllis@winston.com>; Michael Murphy, Jr. <michael.jr@murphlaw.net>; Carmen <Carmen@murphlaw.net>
Subject: RE: Robert Hunter Biden v. Patrick M. Byrne (Federal Case No.: 2:23-cv-09430-SVW-PD) -Ms. Biden as a Witness

Hi Zachary:

In your client's responses to our client's special interrogatory number 3, your client lists Mrs. Biden as a witness.
She is not listed as a witness in your client's Rule 26f disclosures. If your client may call his wife as a witness
during trial, he must list her in his Rule 26f disclosures and promptly produce her for a deposition. Otherwise, you
must stipulate to a court order that your client will not be calling her to testify during the trial of this case.

Your client cannot claim the husband wife privilege to block us from deposing Ms. Biden and then waive that
privilege right before trial and try to call her.

Let me know as soon as possible what you want to do. Failing that, I will request an IDC on this issue.


Very truly yours,

Michael C. Murphy, Esq.


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                                   #:2110




            Exhibit ''B ''
        Case 2:23-cv-09430-SVW-PD              Document 111-1           Filed 11/12/24        Page 7 of 9 Page ID
                                                      #:2111
Michael Murphy

From:                              Michael 1\1\urphy
Sent:                              Wednesday\ October 30, 2024 12:29 PM
To:                                Zachary Hansen
Cc:                                Michael Murplny, Jr.; Bryan Sullivan; 'abbelowellpublicoutreach@winston.com'; 'Ellis,
                                   Gregory A.'; Rob,ie Atienza-Jones; 'Salvaty, Paul B.'
Subject:                           RE: Biden v. Byrn~; 2:23-cv-9430-SVW-PDx


Hi Zachary:

As you may know, the magistrate judge issued an order today that our client's deposition is to be taken in a federal
judicial district selected by him and with your client paying all of his round trip travel expenses including ground
transportation, hotel, and a business class airline ticket. Based on the foregoing, I would like to propose that we
enter a stipulation for a court order with the trial judge for the following:

      1. Continue the hearing of our client's motion for summary judgment and/or for summary adjudication of
         issues and the pretrial conference to a new date and time to precede the trial date.

      2. Set a new date for your client to file his opposition to our motion for summary judgment and for us to file a
         reply to your client's opposition.

      3. Set a new date for pretrial filings which consist of the joint witness list, joint exhibit list and memorandum
         of contentions of law and fact.

      4. Set a date and time for the filing and hearing of motions in limine after a meet and confer. We have at least
         four.

We can get back to you soon with a proposed federal judicial district frnm our client. You can then promptly
propose a date, location in the selected district, and time to notice the deposition of our client which we would
want to occur sooner rather than later. That date will then affect our stipulation dates listed above.

We have still not heard from you with your designation of your IME expert, his or her CV, and other information that
must be contained in an appropriate expert witness designation that is due now. We also have not separately
received from you any proposed dates and times to depose that expert and have their requested documents
produced at a deposition. Otherwise, we will want to proceed with a motion in limine precluding your client from
calling any medical professional to testify about your client's emotional distress.

Please let me know how you want to proceed and in response to this e-mail. I anticipate hearing from you as soon
as possible.


Very truly yours,

Michael C. Murphy, Esq.


From: Zachary Hansen <zhansen@earlysullivan.com>
Sent: Tuesday, October 29, 2024 3:34 PM
To: Michael Murphy <michael@murphlaw.net>
Cc: Michael Murphy, Jr.<michael.jr@murphlaw.net>; B~yan Sullivan <bsullivan@earlysullivan.com>;

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                                   #:2112




            Exhibit ''C''
        Case 2:23-cv-09430-SVW-PD                Document 111-1           Filed 11/12/24      Page 9 of 9 Page ID
                                                        #:2113
Michael Murphy

From:                               Zachary Hansen <zhansen@earlysullivan.com>
Sent:                               Wednesday, October 30, 2024 4:26 PM
To:                                 Michael Murphy
Cc:                                 Michael Murphy, Jr.; Bryan Sullivan; 'abbelowellpublicoutreach@winston.com'; 'Ellis,
                                    Gregory A.'; Robie Atienza-Jones; 'Salvaty, Paul B.'
Subject:                            RE: Biden v. Byrne; 2:23-cv-9430-SVW-PDx


Hi Michael,

We see no need at this point to continue any of the pretrial dates or any of the deadlines associated with Defendant's
Motion for Summary Judgment as we are ready to proceed on all fronts. As such, we will not agree to enter into a
stipulation to continue any of the dates you propose. It's interesting you are now wanting to continue such dates, when
you previously refused to do so earlier this week upon my suggestion, which caused us to change our position and plan
to proceed with the current deadlines. We will send you the Exhibit List and Witness List tomorrow so that you can enter
Defendant's portions, send them back to me in a timely manner, and we can file the same on Monday by the deadline.
As for the memorandum of contentions of facts and law, we are working on that but may not have a draft of our portion
ready until Monday. This is why I wanted to have a meet and confer call this week with you to discuss what we side
would include in that memorandum, but you claimed to be too busy on other matters to have such a call. Therefore, we
will send you our portion of that memorandum when we have it ready. You could expediate that process by sending us
Defendant's portions of that document this week.

As I told you yesterday, we are evaluating the IME report that we only received a day ago and will inform you of our
decision regarding a rebuttal expert this week.

With respect to the Court's order, we expect compliance with that order which requires you to provide written notice of
which district Defendant will appear in for his deposition within 5 days of the order. That means by Monday 11/4 we
need that information from you in writing. We will then propose a date and time thereafter, as ordered by the Court.
The Court's Order also says nothing about paying for ground transportation as you claim in your email and thus Plaintiff
will not be paying for those expenses. We will adhere to the Order, which means Plaintiff will only pay for the airfare and
hotel for Defendant.

Finally, I never received a response from you regarding our proposal to proceed with a mediation before a neutral from
the Court's panel, as you initially suggested. Please let me know if you agree to do that and, if so, we can prepare an
application for the Court to set a date for us.

Best Regards,

Zachary Hansen


                ZACHARY HANSEN I ASSOCIATE ATTORNEY
                Early Sullivan Wright Gizer & McRae LLP
                32.::1 30! 4600 Main
                                Direct


                                         lom.
                zhansen@earlysullivan.com

This message and any attached documents may contain information from the law firm of

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